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                                                       MDL 1456 STATUS CHART – PRIVATE CLASS CASES

                                        MDL
    PRIVATE CLASS CASES                             ORIGINAL
                                     DOCKET                                                                     STATUS
                                                  JURISDICTION
                                        NO.
Master Consolidated Class Action    Master File   D. Mass. pursuant   •   May 3, 2004 – Plaintiffs’ Motion to Compel the Production of Documents Created During the
                                    01-CV-        to JPML Order           Relevant Time Period from Defendants Abbott Laboratories, AstraZeneca, Schering Plough,
                                    12257-PBS                             Sicor and Together Rx Defendants sub judice (Magistrate Judge Bowler) [Docket No. 826]
                                                                               o May 17, 2004 – Certain Defendants’ Notice of Opposition to Plaintiffs’ Motion to
                                                                                   Compel the Production of Certain Documents and Consent Motion for an Extension of
                                                                                   Time [Docket No. 838]
                                                                               o May 26, 2004 – Notice of Withdrawal of Plaintiffs’ Motion to Compel the Production of
                                                                                   Documents Created During the Relevant Time Period Directed at Defendant Schering–
                                                                                   Plough (Note: withdrawal applies only to Schering-Plough) [Docket No. 851]
                                                                               o May 27, 2004 – Consent Motion for an Extension of Time to Oppose the Motion to
                                                                                   Compel [Docket No. 855]
                                                                               o May 27, 2004 – Opposition of the Together Rx Defendants to Plaintiffs’ Motion to
                                                                                   Compel the Production of Documents [Docket No. 854]
                                                                               o May 28, 2004 – Notice of Withdrawal of Plaintiffs’ Motion to Compel the Production of
                                                                                   Documents Created During the Relevant Time Period Directed at Defendant Abbott
                                                                                   Laboratories (Note: withdrawal applies only to Abbott Laboratories) [Docket No. 857]
                                                                               o June 8, 2004 – Notice of Withdrawal of Plaintiffs’ Motion to Compel the Production of
                                                                                   Documents Created During the Relevant Time Period Directed at Defendant AstraZeneca.
                                                                                   (Note: withdrawal applies only to AstraZeneca) [Docket No. 863]
                                                                               o June 9, 2004 – Plaintiffs’ Reply Memorandum in Support of Motion to Compel the
                                                                                   Production of Documents Created During the Relevant Time Period from the Together
                                                                                   Rx Defendants [Docket No. 864]
                                                                               o June 22, 2004 – Order granting Plaintiffs’ Motion to Withdraw Motion to Compel
                                                                                   Directed at Abbott Laboratories [Electronic Order]
                                                                               o Awaiting scheduling of hearing or ruling by Court as to Together Rx Defendants

                                                                      o   February 23, 2005 – Third Party Schaller Anderson Inc.’s Objection and Motion to Quash
                                                                          Plaintiffs’ Subpoena

                                                                      •   June 14, 2005 – Defendant Sicor Inc. and Sicor Pharmaceuticals, Inc.’s Motion for Protective
                                                                          Order with Memorandum in Support sub judice (Magistrate Judge Bowler) [Docket No. 1555]
                                                                               o June 28, 2005 – Plaintiffs’ Response to Sicor’s Motion for Protective Order [Docket No.
                                                                                    1568]
                                                                               o July 6, 2005 – Motion for Leave to File Reply to Plaintiffs’ Response to Sicor’s Motion
                                                                                    for Protective Order [Docket No. 1580]




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                                       NO.
Master Consolidated Class Action                              •   November 9, 2005 – Plaintiffs’ Motion for Order Exempting Defendant Abbott Laboratories
(continued)                                                       from Any Order Refusing to Extend Deadline for Track Two Discovery [Docket No. 1875]
                                                                      o November 23, 2005 – Defendant Abbott Laboratories’ Opposition to Plaintiffs’ Motion
                                                                          for Order Exempting Defendant Abbott Laboratories from Any Order Declining to
                                                                          Extend Deadline for Track Two Discovery [Docket No. 1904]
                                                                      o December 1, 2005 – Plaintiffs’ Letter to Magistrate Judge Bowler Requesting
                                                                          Postponement of Hearing until Track Two Discovery Issues Resolved

                                                              •   November 28, 2005 – Plaintiffs’ Motion for Clarification of Case Management Order #16
                                                                  [Docket No. 1912]
                                                                      o November 30, 2005 – Certain Track II Defendants’ Request for Expedited Hearing
                                                                           [Docket No. 1923]
                                                                      o November 30, 2005 – Response of Defendant Watson Pharma, Inc. to Plaintiffs’ “Motion
                                                                           for Clarification of Case Management Order #16” [Docket No. 1924]
                                                                      o December 1, 2005 – Order re: Plaintiffs’ Motion for Clarification of Case Management
                                                                           Order #16 [Docket No. 1925]
                                                                      o December 9, 2005 – Track II Defendants’ Submission Regarding Discovery Schedule
                                                                           [Docket No. 1950]
                                                                      o December 9, 2005 – Watson Pharmaceuticals, Inc.’s Response to Court Order Regarding
                                                                           Discovery Schedule [Docket No. 1951]
                                                                      o December 9, 2005 – Defendants Baxter Healthcare Corporation and Baxter International
                                                                           Inc.’s Memorandum Regarding Track II Discovery Schedule [Docket No. 1952]
                                                                      o December 9, 2005 – Plaintiffs’ Memorandum in Support of Their Proposed Track II
                                                                           Discovery Schedule [Docket No. 1953]
                                                                      o December 15, 2005 – Plaintiffs’ Reply to Watson Pharmaceuticals, Inc.’s Response to
                                                                           Court Order Regarding Discovery Schedule [Docket No. 1964]
                                                                      o December 16, 2005 – Watson Pharmaceuticals, Inc.’s Motion for Leave to File Reply
                                                                           Memorandum in Support of Its Response to Court Order Regarding Discovery Schedule
                                                                           [Docket No. 1970]

                                                              •   February 16, 2006 – Dey, Inc.’s and Abbott Laboratories’ Objections to the Order of Chief
                                                                  Magistrate Judge Bowler Issued on February 4, 2006 Pursuant to Fed. R. Civ. P. Rule 72(a)
                                                                  [Docket No. 2140]
                                                                      o February 22, 2006 – Plaintiffs’ Assented-to Motion for Leave to Reply to Dey, Inc.’s and
                                                                           Abbott Laboratories’ Objections to the Order of Chief Magistrate Judge Bowler Issued on
                                                                           February 4, 2006 to File Such Reply Until March 8, 2006 [Docket No. 2148]
                                                                      o March 8, 2006 – Plaintiffs’ Motion for Leave to File Plaintiffs’ Opposition to Dey, Inc.’s
                                                                           and Abbott Laboratories’ Objections to Chief Magistrate Judge Bowler’s Order Denying
                                                                           Further Discovery of Massachusetts Health Plans [Docket No. 2237]




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                                       NO.
Master Consolidated Class Action                                         o   March 8, 2006 – Plaintiffs’ Opposition to Dey, Inc.’s and Abbott Laboratories’
(continued)                                                                  Objections to Chief Magistrate Judge Bowler’s Order Denying Further Discovery of
                                                                             Massachusetts Health Plans [Docket No. 2238]

                                                              •   February 21, 2006 – United Healthcare, Inc. and United HealthCare Insurance Co.’s Limited
                                                                  Objections to Magistrate Judge’s Order Granting Defendants’ Motion to Compel [Docket No.
                                                                  2144]
                                                                      o March 10, 2006 – Defendants’ Response to Third Party United Healthcare, Inc. and
                                                                           United HealthCare Insurance Company’s Objections to Chief Magistrate Judge Bowler’s
                                                                           Order Granting Defendants’ Motion to Compel [Docket No. 2243]

                                                              •   May 8, 2006 – Plaintiffs’ Motion to Certify Claims with Respect to Track 2 Defendants
                                                                  [Docket No. 2522]
                                                                      o May 16, 2006 – Plaintiffs’ Motion for Leave to Join Harold Bean as a Plaintiff and a
                                                                           Proposed Class Representative [Docket No. 2584]
                                                                                     May 19, 2006 – Track Two Defendants’ Opposition to Plaintiffs’ Motion for
                                                                                      Leave to Join Harold Bean as a Plaintiff and Class Representative [Docket No.
                                                                                      2590]
                                                                                     May 24, 2006 – Warrick Pharmaceuticals Corp.’s Opposition to Plaintiffs’
                                                                                      Motion for Leave to Join Harold Bean as a Plaintiff and Class Representative
                                                                                      [Docket No. 2599]
                                                                      o May 16, 2006 – Track Two Defendants’ Motion to Strike Harold Bean as a Proposed
                                                                           Class Representative [Docket No. 2582]
                                                                                     May 26, 2006 – Plaintiffs’ Memorandum in Opposition to Motion to Strike
                                                                                      Harold Bean as a Proposed Class Representative [Docket No. 2608]
                                                                      o June 15, 2006 – Defendants’ Individual Memoranda of Law in Opposition to Track 2
                                                                           Class Certification (individual memorandum filed by each of the Track 2 Defendants)
                                                                           (Redacted versions filed in last week of June/first week of July 2006) [Docket No. 2687]
                                                                      o July 19, 2006 – Plaintiffs’ Reply Memorandum in Support of Motion to Certify Claims
                                                                           With Respect to Track 2 Defendants [Docket No. 2889]
                                                                      o August 4, 2006 – Track Two Proposal Concerning the Appointment of a Neutral Expert
                                                                           to Advise the Court on Track Two Class Certification [Docket No. 2957]
                                                                      o August 7, 2006 – Plaintiffs’ Response to Track Two Proposal Concerning the
                                                                           Appointment of a Neutral Expert to Advise the Court on Track Two Class Certification
                                                                           [Docket No. 2964]
                                                                      o August 25, 2006 – Track Two Defendants’ Memorandum Regarding Harold Bean, in
                                                                           Further Opposition to Class Certification [Docket No. 3018]
                                                                      o August 25, 2006 – Track Two Defendants’ Memorandum in Opposition to Class
                                                                           Certification [Docket No. 3020]




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                                       NO.
Master Consolidated Class Action                                       o   September 5, 2006 – Plaintiff’s Response to Track 2 Defendants’ Memorandum
(continued)                                                                Regarding Harold Bean [Notice of Filing Under Seal - Docket No. 3063], Declaration of
                                                                           Donald E. Haviland [Docket No. 3065]
                                                                       o   September 6, 2006 – Track Two Defendants’ Notice of Supplemental Evidence Relevant
                                                                           to Class Certification [Docket No. 3071]
                                                                       o   September 11, 2006 – Track Two Defendants’ Supplemental Filing Regarding the Track
                                                                           Two Defendants’ Motion for Leave to File the Rebuttal Declaration of Steven J. Young in
                                                                           Support of Track 2 Defendants’ Opposition to Class Certification or, in the Alternative,
                                                                           Motion to Strike the Hartman Track 2 Dyckman Rebuttal, Hartman Track 2 Young
                                                                           Rebuttal and the Rosenthal Rebuttal) [Notice of Filing Under Seal - Docket No. 3093]
                                                                       o   September 11, 2006 – Track Two Defendants’ Notice of Supplemental Authority
                                                                           Relevant to Class Certification [Docket No. 3094]
                                                                       o   October 16, 2006 – Class Plaintiffs’ Submission of the “Generics Chart” Pursuant to the
                                                                           Oral Request of the Court During the Class Certification Hearing in Connection with
                                                                           Track 2 (corrected October 17, 2006) [Docket No. 3220; Corrected Docket No. 3223]
                                                                       o   December 21, 2006 – Track Two Defendants’ Motion to Strike the “Generics Chart” and
                                                                           Proposed Track Two Class Certification Order Submitted by Plaintiffs’ in Support of
                                                                           Their Motion for Class Certification [Docket No. 3499]
                                                                       o   July 25, 2007 – Defendant Amgen Inc.’s Supplemental Memorandum in Opposition to
                                                                           Class Certification [Docket No. 4506]
                                                                       o   August 8, 2007 – Class Plaintiffs’ Response to Amgen and Watson’s Supplemental
                                                                           Opposition to Class Certification [Docket No. 4609]
                                                                       o   August 23, 2007 – Memorandum of Plaintiffs and Class 1 Representatives Harold Carter,
                                                                           Rev. David Aaronson, and Harold Bean in Response to Defendant Amgen, Inc.’s
                                                                           Supplemental Memorandum in Opposition to Class Certification [Docket No. 4641]
                                                                       o   August 31, 2007 – Plaintiffs’ Supplemental Memorandum in Support of Track 2 Class
                                                                           Certification Regarding State Law Issues [Docket No. 4675]
                                                                                 September 21, 2007 – Individual Memorandum of Aventis Pharmaceuticals Inc. in
                                                                                  Opposition to Plaintiffs’ Supplemental Memorandum in Support of Track 2 Class
                                                                                  Certification Regarding State Law Issues [Docket No. 4738]
                                                                                 September 21, 2007 – Response of Defendants Amgen Inc. and Watson
                                                                                  Pharmaceuticals, Inc. to Plaintiffs’ Supplemental Memorandum in Support of
                                                                                  Track 2 Class Certification Regarding State Law Issues [Docket No. 4740]
                                                                       o   September 7, 2007 – Plaintiffs’ Submission of Supplemental Authority Relating to Track
                                                                           2 Class Certification and State Law Issues [Docket No. 4691]
                                                                       o   September 14, 2007 – Watson Pharmaceuticals, Inc.’s Response to Class Plaintiffs’
                                                                           Response to Amgen and Watson’s Supplemental Opposition to Class Certification
                                                                           [Docket No. 4716]




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                                       NO.
Master Consolidated Class Action                              •   June 22, 2006 – Plaintiffs’ Motion to Quash May 18, 2006 Amended Notice of Deposition of
(continued)                                                       Harvey Weintraub Filed by Defendant Warrick Pharmaceuticals Corporation [Docket No.
                                                                  2755]
                                                                       o June 22, 2006 – Plaintiffs’ Motion for Leave to File Under Seal Plaintiffs’ Memorandum
                                                                            and Exhibit 1 to the Declaration of Steve W. Berman in Support of Motion to Quash May
                                                                            18, 2006 Amended Notice of Deposition of Harvey Weintraub Filed by Defendant
                                                                            Warrick Pharmaceuticals Corporation [Docket No. 2754]
                                                                       o July 6, 2006 – Warrick’s Memorandum in Opposition to Certain Plaintiffs’ Motion to
                                                                            Quash May 18, 2006 Amended Notice of Deposition of Harvey Weintraub and in Support
                                                                            of Cross Motion for Leave to Take Deposition of Harvey Weintraub for Purposes of
                                                                            Preservation of Testimony [Docket No. 2840]
                                                                       o July 20, 2006 – Plaintiffs’ Memorandum in Opposition to Warrick Pharmaceuticals
                                                                            Corporation’s Cross-Motion for Leave to Take the Deposition of Harvey Weintraub for
                                                                            Purposes of Preservation of Testimony [Docket No. 2898]
                                                                       o August 3, 2006 – Warrick Pharmaceuticals Corporation’s Reply Memorandum in Support
                                                                            of Its Cross Motion for Leave to Take the Deposition of Harvey Weintraub for Purposes
                                                                            of Preservation of Testimony [Docket No. 2950-2]

                                                              •   November 2, 2006 – Defendant Immunex Corporation’s Objections to October 23, 2006 Order
                                                                  by Chief Magistrate Judge Bowler Regarding Immunex’s Motion for Protective Order
                                                                  Regarding May 17, 2006, Deposition Notice [Docket No. 3303]
                                                                      o November 9, 2006 – Plaintiffs’ Memorandum In Response to Immunex Corporation’s
                                                                           Objections to October 23, 2006 Order by Chief Magistrate Judge Bowler Denying
                                                                           Immunex’s Motion for Protective Order [Notice of Filing Under Seal – Docket No. 3331]

                                                              •   November 6, 2006 – Plaintiffs’ Objections to the October 23, 2006 Order by Chief Magistrate
                                                                  Bowler Re: Amgen Inc.’s Motion for Protective Order Relating to Plaintiffs’ Rule 30(b)(6)
                                                                  Deposition Notice Regarding Sales and Marketing [Docket No. 3323]
                                                                      o November 14, 2006 – Amgen Inc.’s Response to Plaintiffs’ Objections to Chief
                                                                           Magistrate Judge Bowler’s October 23, 2006 Order Granting Amgen Inc.’s Motion for
                                                                           Protective Order [Docket No. 3361]

                                                              •   February 22, 2007 – Plaintiffs’ Objections to February 12, 2007 Order by Magistrate Judge
                                                                  Bowler Granting Defendant Abbott Laboratories’ Motion for Protective Order and Motion to
                                                                  Quash Plaintiffs’ Third Party Subpoenas [Docket No. 3802]
                                                                      o March 8, 2007 – Abbott Laboratories Response to Plaintiffs’ Objections to February 12,
                                                                           2007 Order by Magistrate Judge Bowler Granting Defendant Abbott Laboratories’
                                                                           Motion for Protective Order and Motion to Quash Plaintiffs’ Third Party Subpoenas
                                                                           [Docket No. 3837]




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                                       NO.
Master Consolidated Class Action                                         o   March 23, 2007 – Plaintiffs’ Reply Brief in Support of Their Objections to February 12,
(continued)                                                                  2007 Order by Magistrate Judge Bowler Granting Defendant Abbott Laboratories’
                                                                             Motion for Protective Order and Motion to Quash Plaintiffs’ Third Party Subpoenas
                                                                             [Docket No. 3915]
                                                              •   March 22, 2007 – Declaration of G. Raymond Pironti, Jr. Regarding Time Expended for
                                                                  Preparing Direct Testimony via Declaration and Traveling from Tampa, Florida to Boston
                                                                  Pursuant to Subpoena to Appear for Trial Testimony and Request for Reimbursement
                                                                  [Docket No. 3945]

                                                              •   July 13, 2007 – Notice of Submission to Court of Declaration and Request for Determination
                                                                  of Proprietary Filing Under Seal [Docket No. 4460]
                                                                    o July 27, 2007 – Class Counsel’s Response to the Declaration of Donald E. Haviland, Jr. In
                                                                         Response to Court Directive Concerning AstraZeneca Settlement [Docket No. 4510]
                                                                    o August 24, 2007 – Declaration of Donald E. Haviland, Jr., in Response to Court Directive
                                                                         Concerning the AstraZeneca Settlement [Docket No. 4660]

                                                              •   October 23, 2008 – Plaintiffs’ Offer of Proof Regarding Standing of Pirelli Armstrong Tire
                                                                  Corporation Retiree Medical Benefits Trust [Docket No. 5641]
                                                                      o December 16, 2008 – Plaintiffs’ Amended Offer of Proof Regarding Standing of Pirelli
                                                                           Armstrong Tire Corporation Retiree Medical Benefits Trust [Docket No. 5781]

                                                              •   November 20, 2008 – [Proposed] Consolidated Order Re: Motion for Nationwide Certification
                                                                  Relating to AstraZeneca and the BMS Group [Docket No. 5691]
                                                                      o November 24, 2008 – Objection by AstraZeneca Pharmaceuticals LP to the Proposed
                                                                           Order Submitted by Plaintiffs With Respect to the Certification Under Rule 23 of
                                                                           Multistate Cases [Docket No. 5705]
                                                                      o November 25, 2008 – Objection by Bristol-Myers Squibb Company to the Proposed Order
                                                                           Submitted by Plaintiffs With Respect to the Certification Under Rule 23 of Multistate
                                                                           Cases [Docket No. 5709]
                                                                      o January 26, 2009 – Order to Stay Entry of Multistate Class Certification Order Pending
                                                                           Appeal of Massachusetts Class Judgment [Electronic Order]

                                                              •   February 23, 2009 – Revised Objection to Class Action Settlement and Notice of Intent to
                                                                  Appear of Class Member Patricia Weatherly (re Track Two Settlement) [Docket. No. 5921]

                                                              •   March 2, 2009 – Class Counsel Motion for Entry of an Order Granting Final Approval of the
                                                                  Track Two Settlement [Docket No. 5934]
                                                                      o [Proposed] Final Order and Judgment Granting Final Approval of the Track Two Class




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                                       NO.
Master Consolidated Class Action                                           Action Settlements, Approving Proposed Allocation of Settlement Funds, and Approving
(continued)                                                                Class Counsel Application of Attorneys’ Fees, Reimbursement of Litigation Expenses
                                                                           and Compensation for Class Representatives [Docket No. 5934-2]
                                                                       o   March 2, 2009 – Class Plaintiffs’ Memorandum of Law in Support of Motion for Final
                                                                           Approval of the Track Two Settlement [Docket No. 5935]; Declaration of Katherine
                                                                           Kinsella Regarding Class Notice in the Track Two Settlement [Docket No. 5936];
                                                                           Declaration of Eric Miller Regarding Mailing of Notice to Class members [Docket No.
                                                                           5937]
                                                                       o   March 2, 2009 – Class Counsel’s Memorandum of Law in Support of Petition for
                                                                           Attorneys’ Fees, Reimbursement of Expenses and Compensation to the Class
                                                                           Representatives in Association with the Track 2 Settlement [Docket No. 5938];
                                                                           Declaration of Marc. H. Edelson in Support of Class Plaintiffs’ Joint Petition for
                                                                           Attorneys’ Fees, Reimbursement of Expenses in Relation to Track 2 Settlement [Docket
                                                                           No. 5939]
                                                                       o   March 9, 2009 – Objection to Track Two Settlement and Attorney’s Fee Request and
                                                                           Notice of Intention to Appear at Fairness Hearing [Docket No. 5947]
                                                                       o   March 16, 2009 – Memorandum of Named Consumer Plaintiffs in Opposition to
                                                                           Approval of the Proposed Track Two Nationwide Class Certification and Settlement
                                                                           [Docket No. 5953], Declaration of Donald E. Haviland, Jr. in Support of Memorandum of
                                                                           Named Consumer Plaintiffs in Opposition to Approval of the Proposed Track Two
                                                                           Nationwide Class Certification and Settlement [Docket No. 5954]
                                                                       o   March 24, 2009 – Revised Memorandum of Named Consumer Plaintiffs in Opposition to
                                                                           Approval of the Proposed Track Two Nationwide Class Certification and Settlement
                                                                           [Docket No. 5971]
                                                                       o   April 9, 2009 – Class Plaintiffs’ Response to Objections to Final Approval of the Track
                                                                           Two Settlement [Docket No. 6003], Declaration of Steve W. Berman in Support of Class
                                                                           Plaintiffs’ Response to Objections to Final Approval of the Track Two Settlement
                                                                           [Docket No. 6004], Declaration of Thomas M. Sobol in Support of Class Plaintiffs’
                                                                           Response to Objections to Final Approval to the Track Two Settlement [Docket No.
                                                                           6005], Declaration of Jeffrey S. Goldenberg [Docket No. 6006], Declaration of Alex
                                                                           Sugerman-Brozanm, Co-Consumer Allocation Counsel, in Support of Final Approval of
                                                                           the Track Two Settlement [Docket No. 6007], Declaration of Wells Wilkinson in Support
                                                                           of Final Approval of the Track Two Settlement [Docket No. 6008], Declaration of Eric P.
                                                                           Lachance Regarding Consumer Class Members [Docket No. 6009]
                                                                       o   April 21, 2009 – Class Plaintiffs’ Notice of Filing in Support of Their Response to
                                                                           Objections to Final Approval of the Track Two Settlement [Docket No. 6015]
                                                                       o   April 23, 2009 – Reply of Objectors John Pentz, Connie Pentz and Corinna Connick to
                                                                           Class Plaintiffs’ Response to Objections to Final Approval of Track Two Settlement
                                                                           [Docket No. 6021], Affidavit of Edward Cochran [Docket No. 6021-2]




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Master Consolidated Class Action                                         o   April 24, 2009 – Affidavit of Donald E. Haviland, Jr., in Support of Evidentiary
(continued)                                                                  Submission for Track Two Fairness Hearing [Docket No. 6026]
                                                                         o   December 13, 2009 – Objecting Class Member James W. Wilson’s Amended Objection
                                                                             to the Court’s Approval of Attorneys’ Fees in Excess of $10 Million [Docket No. 6758]
                                                                         o   December 15, 2009 – Class Member Patricia Weatherly’s Second Revised Objection to
                                                                             Class Action Settlement and Notice of Intent to Appear [Docket No. 6762]
                                                                         o   December 20, 2009 – Objecting Class Member James W. Wilson’s Amended Objection
                                                                             to the Court’s Approval of Attorneys’ Fees in Excess of $10 Million [Docket No. 6778]
                                                                         o   January 28, 2010 – Class Plaintiffs’ Notice of Status Related to Final Approval of the
                                                                             Track Two Settlement [Docket No. 6867]
                                                                         o   February 4, 2010 – Track Two Defendants’ Response to Class Plaintiffs’ Status Report
                                                                             Regarding Track Two Settlement [Docket No. 6891]
                                                              •   March 27, 2009 – Class Plaintiffs’ Motion for Protective Order with Regard to Muriel
                                                                  Tonacchio Deposition [Docket No. 5979]
                                                                      o March 27, 2009 – Class Plaintiffs’ Memorandum in Support of Their Motion for
                                                                           Protective Order with Regard to Muriel Tonacchio Deposition [Docket No. 5980];
                                                                           Declaration of Jennifer Fountain Connolly [ Docket No. 5981]
                                                                      o April 23, 2009 – Named Consumer Plaintiffs’ Opposition to Class Plaintiffs’ Motion for
                                                                           Protective Order with Regard to Muriel Tonacchio Deposition [Docket No. 6019], Named
                                                                           Consumer Plaintiffs’ Memorandum in Opposition to Class Plaintiffs’ Motion for
                                                                           Protective Order with Regard to Muriel Tonacchio Deposition [Docket No. 6019]

                                                              •   March 27, 2009 – Motion by Prescription Access Litigation, Community Catalyst and Health
                                                                  Care for All to Quash Subpoenas Duces Tecum Served by Don Haviland [Docket No. 5982]
                                                                      o March 27, 2009 – Memorandum of Prescription Access Litigation, Community Catalyst
                                                                           and Health Care for All in Support of Their Motion to Quash Subpoenas Duces Tecum
                                                                           Served by Don Haviland [Docket No. 5983]; Declaration of Jennifer Fountain Connolly
                                                                           [Docket No. 5984]
                                                                      o April 23, 2009 – Named Consumer Plaintiffs’ Response to Motion by Prescription Access
                                                                           Litigation, Community Catalyst and Health Care For All to Quash Subpoenas Duces
                                                                           Tecum [Docket No. 6020], Named Consumer Plaintiffs’ Memorandum in Opposition to
                                                                           Motion by Prescription Access Litigation, Community Catalyst and Health Care For All
                                                                           to Quash Subpoenas Duces Tecum [Docket No. 6020]

                                                              •   November 23, 2009 – The J&J Defendants’ Post-Remand Motion for Summary Judgment
                                                                  Against Class 1 Residents of the Commonwealth of Massachusetts [Docket No. 6667]
                                                                      o November 23, 2009 – The J&J Defendants’ Memorandum in Support of Their Post-
                                                                           Remand Motion for Summary Judgment Against Class 1 Residents of the Commonwealth




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                                       NO.
Master Consolidated Class Action                                             of Massachusetts [Docket No. 6668], The J&J Defendants’ Local Rule 56.1 Statement in
(continued)                                                                  Support of Their Post-Remand Motion for Summary Judgment Against Class 1 Residents
                                                                             of the Commonwealth of Massachusetts [Docket No. 6669]
                                                                         o   January 15, 2010 – Plaintiffs’ Combined Opposition to the J&J Defendants’ Post-Remand
                                                                             Motions for Summary Judgment [Docket No. 6834], Plaintiffs’ Local Rule 56.1 Counter-
                                                                             Statement of Disputed Material Facts in Opposition to the J&J Defendants’ Post-Remand
                                                                             Motions for Summary Judgment [Docket No. 6835], Declaration of Steve W. Berman in
                                                                             Support of Plaintiffs’ Combined Opposition to the J&J Defendants’ Post-Remand
                                                                             Motions for Summary Judgment and Plaintiffs’ Local Rule 56.1 Counter-Statement of
                                                                             Disputed Material Facts [Docket No. 6836]
                                                                         o   January 29, 2010 – The J&J Defendants’ Reply Memorandum in Support of Their Post-
                                                                             Remand Motion for Summary Judgment Against Class 1 Residents of the Commonwealth
                                                                             of Massachusetts [Docket No. 6869]

                                                              •   November 23, 2009 – The J&J Defendants’ Assented to Motion for Leave to File an Oversized
                                                                  Brief in Support of Their Post-Remand Motion for Summary Judgment Against Class 1
                                                                  Residents of the District of Columbia and States Other than the Commonwealth of
                                                                  Massachusetts [Docket No. 6670]

                                                              •   November 23, 2009 – The J&J Defendants’ Post-Remand Motion for Summary Judgment
                                                                  Against Class 1 Residents of the District of Columbia and States Other Than the
                                                                  Commonwealth of Massachusetts [Docket No. 6671]
                                                                      o November 23, 2009 – The J&J Defendants’ Memorandum in Support of Their Post-
                                                                           Remand Motion for Summary Judgment Against Class 1 Residents of the District of
                                                                           Columbia and States Other than the Commonwealth of Massachusetts [Docket No. 6672]
                                                                                •     November 24, 2009 – The J&J Defendants’ Notice of Filing of Corrected
                                                                                      Appendix [Docket No. 6683]
                                                                      o November 23, 2009 – The J&J Defendants’ Local Rule 56.1 Statement in Support of
                                                                           Their Post-Remand Motion for Summary Judgment Against Class 1 Residents of the
                                                                           District of Columbia and States other than the Commonwealth of Massachusetts [Docket
                                                                           No. 6673]
                                                                      o January 15, 2010 – Plaintiffs’ Combined Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment [Docket No. 6834], Plaintiffs’ Local Rule 56.1 Counter-
                                                                           Statement of Disputed Material Facts in Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment [Docket No. 6835], Declaration of Steve W. Berman in
                                                                           Support of Plaintiffs’ Combined Opposition to the J&J Defendants’ Post-Remand
                                                                           Motions for Summary Judgment and Plaintiffs’ Local Rule 56.1 Counter-Statement of
                                                                           Disputed Material Facts [Docket No. 6836]
                                                                      o January 29, 2010 – The J&J Defendants’ Reply Memorandum in Support of Their Post-




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                                       NO.
Master Consolidated Class Action                                            Remand Motion for Summary Judgment Against Class 1 Residents of the District of
(continued)                                                                 Columbia and States other than The Commonwealth of Massachusetts [Docket No. 6870]
                                                                       o    March 5, 2010 – The J&J Defendants’ Supplemental Authority in Support of the J&J
                                                                            Defendants’ Post-Remand Motion for Summary Judgment Against Class 1 Residents of
                                                                            the District of Columbia and States Other than the Commonwealth of Massachusetts
                                                                            [Docket No. 6947]
                                                                                 •     March 15, 2010 – Plaintiffs’ Response to the J&J Defendants’ Supplemental
                                                                                       Authority [Docket No. 6977]
                                                                                 •     June 29, 2010 – Status Report – Class 1 Plaintiffs’ Status Report Regarding J&J
                                                                                       Defendants [Docket No. 7151]; Response by Centocor, Inc., Johnson &
                                                                                       Johnson [Docket No. 7152]
                                                                                 •     July 19, 2010 – Brief by All Plaintiffs – Class 1 Plaintiffs’ Statement Regarding
                                                                                       Position Take by the Department of Justice Regarding Dr. Hartman’s 30%
                                                                                       Benchmark [Docket No. 7188]; Declaration by Steve Berman re: 7188 [Docket
                                                                                       No. 7189]; Statement of Counsel by Johnson & Johnson [Docket No. 7190]
                                                                                 •     July 21, 2010 – Stipulation and [Proposed] Order Concerning Proposed Class 1
                                                                                       Representative, Mrs. Jimmie Oustad [Docket No. 7193]
                                                                                 •     August 6, 2010 - Judge Saris Stipulation and Order Concerning Proposed Class
                                                                                       1 Representative, Mrs. Jimmie Oustad [Docket No. 7219]
                                                                                 •     September 3, 2010 – Judge Saris Memorandum and Order Granting in Part and
                                                                                       Denying in Part Motion for Summary Judgment [Docket No. 7248]

                                                               •   February 16, 2010 – Motion to Enforce Settlement with BMS [Docket No. 6917]
                                                                       o February 16, 2010 – Memorandum in Support of Motion to Enforce Settlement with BMS
                                                                            [Docket No. 6918]

                                                               •   June 18, 2010 – Class Plaintiffs’ and AstraZeneca’s Joint Motion for Entry of an Order
                                                                   Granting Preliminary Approval of the AstraZeneca Settlement Related to Non-Massachusetts
                                                                   Class Two and Three, Certifying Classes for Purposes of Settlement, Directing Notice to the
                                                                   Classes and Scheduling Fairness Hearing [Docket No. 7141]
                                                                        o June 18, 2010 – Class Plaintiffs’ Memorandum of Law in Support of Joint Motion for
                                                                             Preliminary Approval of the Settlement Agreement and Release of AstraZeneca Related
                                                                             to Non-Massachusetts Classes 2 and 3, Approval of the Form and Method of Notice to the
                                                                             Class and Scheduling of a Fairness Hearing [Docket No. 7142]
                                                                        o August 6, 2010 – Notice of Filing Revised Settlement Agreements, Supporting Material,
                                                                             and Proposed Schedule for All Settlement Events Related to Settlement of Massachusetts
                                                                             and Non-Massachusetts AstraZeneca Classes Two and Three [Docket No. 7211]
                                                                                  •    August 6, 2010 – Revised Settlement Agreement and Release of AstraZeneca




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                                      MDL
    PRIVATE CLASS CASES                          ORIGINAL
                                     DOCKET                                                              STATUS
                                               JURISDICTION
                                       NO.
Master Consolidated Class Action                                                     Related to Non-Massachusetts Classes Two and Three [Docket No. 7212]
(continued)                                                                     •    August 6, 2010 – Revised Settlement Agreement and Release of AstraZeneca
                                                                                     Related to Massachusetts Classes Two and Three [Docket No. 7213]
                                                                       o    August 12, 2010 – Judge Patti B. Saris Order Granting Preliminary Approval of the
                                                                            Settlement Agreement and Release of AstraZeneca Related to Non-Massachusetts Classes
                                                                            Two and Three, Directing Notice to the Classes, and Scheduling Fairness Hearing
                                                                            [Docket No. 7225]
                                                                       o    August 12, 2010 – Judge Patti B. Saris Order Granting Preliminary Approval of the
                                                                            Settlement Agreement and Release of AstraZeneca Related to Massachusetts Classes Two
                                                                            and Three, Directing Notice to the Classes, and Scheduling Fairness Hearing [Docket No.
                                                                            7226]

                                                               •   August 6, 2010 – Judge Saris Amended Order Revising Schedule Related to Final Approval of
                                                                   BMS Settlement Entered re: 7168 Motion [Docket No. 7217]

                                                               •   September 15, 2010 – Motion to Dismiss Motion for Dismissal of the Johnson & Johnson
                                                                   Group With Prejudice by State of Arizona [Docket No. 7250]

                                                               •   October 1, 2010 – Motion Challenging Plaintiffs’ Proposed Class Representative by Centocor,
                                                                   Inc., Johnson & Johnson, Ortho Biotech Products, L.P [Docket No. 7259]




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